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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                                     CRIMINAL ACTION

VERSUS                                                                                    No. 09-157

CHARLES RAYMOND                                                                          SECTION I



                                     ORDER AND REASONS

           Before the Court is the opposition1 of defendant, Charles Raymond (“Raymond”), to the

government’s notice2 of intent to introduce evidence pursuant to Rule 404(b) of the Federal

Rules of Evidence. Raymond requests that the Court exclude the evidence offered by the

government pursuant to Rule 404(b). For the following reasons, defendant’s motion is DENIED

IN PART and DEFERRED IN PART.

                                          BACKGROUND

           Count 1 of the superseding indictment charges that on or about June 9, 2004, Raymond

and others conspired to use, carry, brandish, and discharge a firearm during and in relation to a

crime of violence, to wit: carjacking, in violation of Title 18, United States Code, Section 924(c);

all in violation of Title 18, United States Code, Section 924(o).

           Count 2 of the superseding indictment charges that on or about June 9, 2004, Raymond

and others, aiding and abetting each other, did knowingly use carry, brandish, and discharge a

firearm during and in relation to a crime of violence, to wit: carjacking; all in violation of Title

18, United States Code, Sections 924(c)(1)(A)(iii) and (B)(i) and (2).


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    R. Doc. No. 191.
2
    R. Doc. No. 188.



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       Count 3 of the superseding indictment charges that on or about June 9, 2004, Raymond

and others, aiding and abetting each other, with the intent to cause death and serious bodily

harm, and by force, violence, and intimidation, took a motor vehicle from the person and

presence of Nathaniel Robertson and intentionally caused the death of Nathaniel Robertson; all

in violation of Title 18, United States Code, Sections 2119 and 2.

       Count 4 of the superseding indictment charges that on or about June 9, 2004, Raymond

and others, aiding and abetting each other, did knowingly use, carry, brandish, and discharge a

firearm during and in relation to a crime of violence, to wit: carjacking, and in the course of such

violation caused the death of Nathaniel Robertson, which killing is a murder as defined in Title

18, United States Code, Section 1111; all in violation of Title 18, United States Code, Sections

924(j) and 2.

       The government has filed a notice of intent to offer evidence of the facts surrounding and

including Raymond’s prior convictions in Arkansas for possession of a firearm by certain

persons, aggravated robbery, battery in the first degree, theft of property, and kidnapping. The

government has also advised that it intends to offer evidence of Raymond’s involvement in an

uncharged bank robbery in New Orleans, Louisiana. Raymond seeks to exclude the evidence of

Raymond’s prior bad acts, arguing that the evidence only shows Raymond’s bad character.

                                               LAW

   a. Intrinsic evidence

       In order to determine whether “other acts” evidence is admissible, the Court must first

determine whether the evidence is intrinsic or extrinsic to the charged crime. United States v.

Coleman, 78 F.3d 154, 156 (5th Cir. 1999). “Other act” evidence is intrinsic when the evidence

of the other act and evidence of the crime charged are “inextricably intertwined” or the other acts




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are part of a “single criminal episode” or the other acts were “necessary preliminaries” to the

crime charged. Id. (quoting United States v. Williams, 900 F.2d 823, 825 (5th Cir. 1990)). Such

evidence is admissible “to complete the story of the crime by proving the immediate context of

events in time and place,” id., or “so that the jury may evaluate all the circumstances under

which the defendant acted.” United States v. Navarro, 169 F.3d 228, 233 (5th Cir. 1999)

(quoting United States v. Royal, 972 F.2d 643, 647 (5th Cir. 1992)); see United States v. Infante,

404 F.3d 376, 388 (5th Cir. 2005). There is no allegation in this case that the evidence sought to

be introduced by the government is intrinsic evidence.

       b. Extrinsic Evidence

           If evidence is not “intrinsic,” the next question is whether the evidence is admissible

pursuant to Rule 404(b) of the Federal Rules of Evidence.3 “Rule 404(b)…prohibits the

admission of evidence of other crimes or bad acts to prove the character of a person.” United

States v. Thomas, 348 F.3d 78, 85-86 (5th Cir. 2003). In United States v. Beechum, the Fifth

Circuit outlined a two-step test to determine the admissibility of extrinsic evidence or “other

acts.” 582 F.2d 898, 910 (5th Cir. 1978). “Under Beechum, evidence of extrinsic offenses is

admissible if it is (1) relevant to an issue other than the defendant’s character, and (2) the

incremental probative value of the evidence is not substantially outweighed by the danger of

unfair prejudice to the defendant.” United States v. Peters, 283 F.3d 300, 312 (5th Cir. 2002).


3
    Rule 404(b) of the Federal Rules of Evidence states:

                    Other Crimes, Wrongs, or Acts.--Evidence of other crimes, wrongs, or acts is
                    not admissible to prove the character of a person in order to show action in
                    conformity therewith. It may, however, be admissible for other purposes, such
                    as proof of motive, opportunity, intent, preparation, plan, knowledge, identity, or
                    absence of mistake or accident, provided that upon request by the accused, the
                    prosecution in a criminal case shall provide reasonable notice in advance of trial,
                    or during trial if the court excuses pretrial notice on good cause shown, of the
                    general nature of any such evidence it intends to introduce at trial.



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           “‘Evidence is relevant if it makes the existence of any fact at issue more or less probable

than it would be without the evidence.’” United States v. Williams, 957 F.2d 1238, 1244 (5th

Cir. 1992) (quoting United States v. Williams, 900 F.2d 823, 826 (5th Cir. 1990)). The relevance

of an extrinsic offense “is a function of its similarity to the offense charged,” and similarity must

be determined with respect to the particular issue to which the extrinsic offense is addressed.

Beechum, 582 F.3d at 911. In any event, similar act evidence is relevant “only if the jury can

reasonably conclude that the extrinsic act occurred and that the defendant was the actor.” United

States v. Bailey, 111 F.3d 1229, 1233 (5th Cir. 1997).

           In making its relevance determination, the Court is not required to make a preliminary

finding that an extrinsic act or offense in fact occurred. Huddleston v. United States, 485 U.S.

681, 688–89 (1988). The Court may instead admit extrinsic offense evidence under Federal Rule

of Evidence 104(b), which requires the Court to “examine[] all the evidence in the case and

decide[] whether the jury could reasonably find the conditional fact … by a preponderance of the

evidence .” Id. at 690. The Court has broad discretion to control the order of proof at trial, and

may allow the Government to introduce evidence concerning a similar act subject to a later

assessment of whether sufficient evidence has been offered to permit the jury to make the

requisite finding. Id. Only if the Government ultimately fails to meet this “minimal standard of

proof” must the Court instruct the jury to disregard the evidence that was conditionally admitted.

Id.4


4
    As stated by the Fifth Circuit:

                     Such questions of relevance conditioned on a fact are dealt with under Federal
                     Rule of Evidence 104(b). Rule 104(b) provides: “When the relevancy of
                     evidence depends upon the fulfillment of a condition of fact, the court shall
                     admit it upon, or subject to, the introduction of evidence sufficient to support a
                     finding of the fulfillment of the condition.” In determining whether the
                     Government has introduced sufficient evidence to meet rule 104(b), the trial
                     court neither weighs credibility nor makes a finding that the government has


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        With respect to substantial prejudice, the second part of the Beechum test “calls for a

commonsense assessment of all the circumstances surrounding the extrinsic offense.” Beechum,

582 F.2d at 914. As another section of this Court has explained,

                 [t]he Court considers the availability of other means of proof of the
                 charged offense, and it is the “incremental probity” of the extrinsic
                 evidence that must be balanced against its potential for undue
                 prejudice. Id. [For example], if a defendant's intent is not
                 contested, the probative value of extrinsic evidence as to that issue
                 will be inconsequential. Id. Furthermore, the probative value of an
                 extrinsic offense “correlates positively” with its similarity to a
                 charged offense. Id. at 915. If the extrinsic offense and the charged
                 offense are dissimilar in most respects, “the extrinsic offense may
                 have little probative value to counterbalance the inherent prejudice
                 of this type of evidence.” Id. Finally, the Court considers the
                 amount of time separating the extrinsic offense from the charged
                 offense. Id. Temporal remoteness is not dispositive, but it
                 “depreciates the probity of the extrinsic offense.” Id.

United States v. Hebert, 2011 WL 2214747, at *2 (E.D. La. Jun. 6, 2011). The probative value

of the evidence, the government’s need for the evidence, and the Court’s limiting instructions are

all relevant. See United States v. Richards, 204 F.3d 177, 199 (5th Cir. 2000).

                                                  ANALYSIS

        a. Arkansas Crimes

        The government seeks to introduce evidence relating to Raymond’s prior convictions in

Arkansas. According to the government, on or about May 20, 2008, Raymond and his half-

brother, Terrell Dorsey (“Dorsey”), confronted their victim, Ozzie Banks (“Banks”), after he

exited his truck and began to walk toward an apartment complex. Raymond, brandishing a

firearm, forced Banks back inside his truck. Raymond, now in the driver’s seat, and Dorsey

                 proved the conditional fact by a preponderance of the evidence. The court
                 simply examines all the evidence in the case and decides whether the jury could
                 reasonably find the conditional fact . . . by a preponderance of the evidence.

Williams, 900 F.2d at 826 (quoting Huddleston v. United States, 485 U.S. 681, 689-90, 108 S. Ct. 1496, 1501, 99 L.
Ed. 2d 771, 782-83 (1989)).



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drove Banks’ truck around town with their victim face down and out of view. At one point,

Banks resisted and he was shot in the leg by Raymond,5 after which Raymond and Dorsey tied a

shirt around his head to blindfold him.

        Raymond and Dorsey drove the truck to Raymond’s residence, where they tried to force

Banks into the house. Banks resisted, at which point Dorsey began hitting Banks with his gun.

Banks managed to flee on foot, hearing gun shots behind him and discovering that he had again

been shot in the leg. Nevertheless, he kept running and he avoided further assault from

Raymond and Dorsey.

        Evidence of the crimes committed in Arkansas is admissible if relevant to an issue other

than the defendant’s character. See Beechum, 582 F.2d at 911. In this case, since Raymond plans

to raise an alibi defense,6 the government seeks to offer the evidence to show the identity of the

defendant. See Fed. R. Evid. 404(b); United States v. Law, 252 F.3d 1357 (5th Cir. 2001)

(“evidence of an earlier crime is admissible to show the identity of the defendant”). In

determining whether to admit extrinsic evidence to show identity, “the likeness of the offenses is

the crucial consideration. The physical similarity must be such that it marks the offenses as the

handiwork of the accused. In other words, the evidence must demonstrate a modus operandi.”

Beechum, 582 F.2d at 912 n.15.

        The Court finds the extrinsic evidence of the Arkansas crimes admissible based on the

physical similarity between the crimes alleged in this case and the crimes committed in



5
 During a status conference, the government advised the Court that Raymond shot Banks during the course of the
kidnapping.
6
  During a status conference, counsel for Raymond advised the Court that Raymond plans to assert an alibi defense
and that he does not plan to challenge the intent of the actual perpetrator of the crime. However, should the jury
reject his alibi defense, Raymond did not waive his right to have the government prove that he had the requisite
criminal intent.



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Arkansas.7 In both instances, Raymond acted in concert with his relatives and others,8 he used a

firearm in order to rob a victim of his vehicle, and he then shot the victim multiple times. See

United States v. Brawner, 141 F.3d 1160 (4th Cir. 1998) (finding that evidence of defendant’s

prior armed robbery, particularly with respect to defendant’s association with the same cohort

and possession of a firearm, was properly admitted in a prosecution for carjacking in order to

show identity).

        The Court notes that approximately four years elapsed between the crimes alleged and

the Arkansas crimes. “Although the remoteness of the extrinsic acts evidence may weaken its

probative value, the age of the prior conviction does not bar its use under Rule 404.” United

States v. Broussard, 80 F.3d 1025, 1040 (5th Cir. 1996) (a prior conviction that occurred more

than ten years before the charged offense was admissible pursuant to Rule 404(b)); United States

v. Pollani, 218 F.3d 743, *3 (5th Cir. 2000) (a prior conviction that occurred eight years before

the charged offense was admissible pursuant to Rule 404(b)). “[The passage of time] is rather

only one factor in determining probative value that is to be considered along with similarity of

the acts and other evidence available to prove the disputed element.” United States v. Chandler,

368 Fed. Appx. 495, 500 (5th Cir. 2010) (a prior conviction that occurred seventeen year before

the charged offense was admissible pursuant to Rule 404(b)).

        In this case, the similarity of the crimes imbues the prior convictions with considerable

probative value with respect to identity. See United States v. Gay, 2011 WL 1413065, *3 (11th

Cir. Apr. 14, 2011) (prior convictions that occurred twelve years before the charged offense were

7
  Since Raymond pleaded nolo contendere to possession of a firearm by certain persons, aggravated robbery, battery
in the first degree, theft of property, and kidnapping based on the incident, the Court finds that the jury can
reasonably conclude that the act occurred and that Raymond was the actor.
8
  In Arkansas, Raymond acted in concert with his half-brother, Terrell Dorsey. In this case, the government alleges
that Raymond acted in concert with another half-brother, Darnell Dorsey, and other co-defendants.



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admissible pursuant to Rule 404(b) to prove identity of the defendant); United States v. Oman,

427 F.3d 1070, 1075 (8th Cir. 2005) (prior convictions that occurred seven years before the

charged offense were admissible pursuant to Rule 404(b) to prove identity of the defendant).

Therefore, the four-year period between the crimes alleged and the Arkansas crimes does not

prevent admission of the evidence pursuant to Rule 404(b).

         The Court also finds that the risk of unfair prejudice to Raymond does not substantially

outweigh the probative value of the extrinsic evidence. The Court will give the jury a cautionary

instruction in order to minimize any possible prejudice that may result from the introduction of

such evidence. See Brawner, 141 F.3d at *2. Accordingly, the government may offer evidence

relating to the crimes committed in Arkansas.9

         b. New Orleans Bank Robbery

         The government also seeks to introduce evidence relating to an uncharged bank robbery

that took place in New Orleans. According to the government, Raymond, along with several

accomplices, robbed a Hibernia Bank on or about January 15, 2005. Raymond, Julio Otero

(“Otero”), and another half brother, Darnell Dorsey, went into the bank, while Adrian Alexis

(“Alexis”) waited in the getaway vehicle. Once inside, Raymond allegedly pointed his assault

pistol at the tellers and people in the lobby. After allegedly robbing the bank, Raymond, Otero,

and Darnell Dorsey fled in Alexis’s getaway vehicle and drove to Raymond’s grandmother’s

house where they counted and divided the stolen money. Criminal charges have not been

brought against Raymond for his alleged participation in the bank robbery.


9
 Since the Court finds the evidence of the Arkansas crimes admissible for the purpose of showing identity, the
Court does not address the admissibility of such evidence for the purpose of showing opportunity, intent, or plan.
However, the Court notes that where intent is not normally inferable from the nature of the act charged, “and the
defendant fails to give enforceable pre-trial assurances that he intends not to dispute criminal intent, the
Government’s case-in-chief may include such extrinsic offense evidence as would be admissible if intent were
actively contested.” United States v. Webb, 625 F.2d 709, 710 (5th Cir. 1980).



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       At this point, the probative value of the extrinsic act evidence relating to the bank robbery

is not readily apparent. Other than the use of firearms, participation by relatives, and the fact that

something of value was taken through the use of force, the bank robbery and the crimes alleged

in this case are not sufficiently similar to be admissible for the purpose of demonstrating the

identity of the defendant. In addition, as the Court previously explained, defense counsel for

Raymond has advised the Court that he plans to assert an alibi defense and that he does not plan

to challenge the intent of the actual perpetrator of the crime. Notwithstanding, it is possible that

Raymond may, for example, challenge certain aspects of Alexis’s testimony, in which case the

extrinsic act evidence may well be probative of the association between Raymond and Alexis or

be admissible for other purposes not yet discernable.

       At a later point at trial, the Court will be better positioned to evaluate the probity and relevance

of the government’s evidence regarding the association between Raymond and Alexis or any other

contested issues. The Court will also be able to evaluate the strength of the government’s case as

to any particular issue. Furthermore, the weighing of the second Beechum factor, i.e. undue

prejudice, is also better determined at later time. Accordingly, the Court defers its ruling with

respect to the admissibility of extrinsic evidence relating to Raymond’s alleged involvement in

the New Orleans bank robbery.

                                          CONCLUSION

       For the foregoing reasons,

       IT IS ORDERED that defendant’s request to exclude evidence relating to his

convictions in Arkansas is DENIED.

       IT IS FURTHER ORDERED that the Court DEFERS its ruling with respect to

defendant’s request to exclude evidence relating to his involvement in the New Orleans bank




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robbery. Until the Court has made its ruling, all counsel and witnesses are ORDERED not to

refer to the alleged bank robbery without prior approval of the Court.



       New Orleans, Louisiana, October 3, 2011.




                                                      ___________________________________
                                                           LANCE M. AFRICK
                                                     UNITED STATES DISTRICT JUDGE




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